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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               JONESBORO DIVISION

BARBARA MCKINNEY,                               *
                                                *
                      Plaintiff,                *
v.                                              *
                                                *        No. 3:11CV00240-JJV (Lead Case)
CAROLYN W. COLVIN,                              *       Consolidated with 3:12CV00011-JJV
Acting Commissioner, Social Security            *
Administration,                                 *
                                                *
                      Defendant.                *

                                         JUDGMENT

       Pursuant to the Order filed in this matter this date, it is Considered, Ordered and Adjudged

that the decision of the Commissioner is affirmed and that the Plaintiff’s Complaint is dismissed

with prejudice.

       IT IS SO ORDERED this 21st day of February, 2013.


                                             ____________________________________
                                             JOE J. VOLPE
                                             UNITED STATES MAGISTRATE JUDGE
